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                IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF ALABAMA
                          EASTERN DIVISION

SOLOMON LaDANIEL                         )
HENDERSON,                               )
                                         )
             Plaintiff,                  )
                                         )
       v.                                )      CASE NO. 3:20-CV-283-WKW
                                         )                [WO]
SHERIFF ANDRE BRUNSON,                   )
JAILER OFFICER DANNY,                    )
JAILER OFFICER HARRIS, and               )
JAILER LEE BO,                           )
                                         )
             Defendants.                 )

                                    ORDER

      On August 28, 2020, the Magistrate Judge filed a Recommendation to which

no timely objections have been filed. (Doc. # 19.) Upon an independent review of

the record, it is ORDERED that the Recommendation is ADOPTED and that this

action is DISMISSED without prejudice.

      Final judgment will be entered separately.

      DONE this 24th day of September, 2020.

                                                   /s/ W. Keith Watkins
                                             UNITED STATES DISTRICT JUDGE
